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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA
                             BRUNSWICK DIVISION
                                                                                            FILED
                                                                                     Scott L. Poff, Clerk
                                                                                  United States District Court

                                                                              By staylor at 9:37 am, Feb 25, 2019
 UNITED STATES OF AMERICA,

        v.                                               CASE NO.: 2:18-cr-36

 JONATHAN LAMAR MANET,

               Defendant.


                                            ORDER

       This case is set for trial on March 12, 2019 at 9:00 a.m.in Courtroom 1, Brunswick Federal

Courthouse. The parties are ORDERED to file an updated Notice to Counsel form with the Court

stating what motions are unresolved and whether any such motions require argument. The Notice

to Counsel form is due February 28, 2019.

       SO ORDERED, this 25th day of February, 2019.




                                     BENJAMIN W. CHEESBRO
                                     UNITED STATES MAGISTRATE JUDGE
                                     SOUTHERN DISTRICT OF GEORGIA
